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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA,


v.                                                   1:11cr16-SPM/GRJ

ALEXANDER BENJAMIN RODRIGUEZ,

     Defendant.
____________________________________/

                    ORDER CONTINUING SENTENCING

      This cause comes before the Court on Defendant Alexander Benjamin

Rodriguez’s Motion to Extend Time (doc 144). The Defendant’s sentencing is

currently scheduled on October 17, 2011. However, Defendant requests a

continuance for 90 days.

      It is hereby ORDERED AND ADJUDGED:

      1.     The Motion to Extend Time (doc. 144) is granted.

      2.     The sentencing of Alexander Benjamin Rodriguez is rescheduled

             for Tuesday, January 3, 2012, at 1:30 p.m. in Gainesville, Florida.

      DONE AND ORDERED this 12th day of October, 2011.

                                        S/ Stephan P. Mickle
                                        Stephan P. Mickle
                                        Senior United States District Judge


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